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Attorneys for Defendant
Reed Robertson

WESTERN DIVISION

Plaintiff,

Vv.

ALLIANCE TITLE CoO., INC., a
California Corporation, REED
BENNETT ROBERTSON, an
individual doing business as
“NATURAL CAPITAL”; JAMES
FLORES HAW, an individual; and
DOES 1 through 10, inclusive,

Defendants.

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

FEDERAL DEPOSIT INSURANCE Case No.: CV09-2342-DSF-AJ Wx

CORPORATION, as Receiver for
IndyMac Bank, F.S.B., SOE ONAN FOR ENTRY OF

 

 

STIPULATION FOR ENTRY OF JUDGMENT

 
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IT IS HEREBY STIPULATED between Plaintiff Fedénil Deposit
Insurance Coxporation as Receiver for IndyMac Bank, F.8.8. CFDIC”) and
Defendant Reed Robertson (“Robertson”), by and through their attomeys of
jrecord (hereinafter, the “Partiés”), a3 follows:

i. On April 3,2009,. FDIC filed a complaint in the United States
District Court, Case No. CV09-2342-DSF, against Robertson, Alliance Title
Co., Jarnes Flores. Haw, and Does | through 10, inclusive.

2. ~The Parties, wishing to avoid continued litigation, have entered
into a written settlement agreement (the “Settlement Agreement”) whereby
Robertson agreed to pay monies to FDIC, to be paid to FDIC. over time.

3. Inthe event that Robertson defaults under the terms .ofthe
Settlement Agreement, the Parties stipulate and agree that judgment tay be
entered against Robertson and in favor of FDIC in the amount-of $150,000 (ess
any amounts received by FDIC putsuant to paragraph | (a) of the Settlement
Agreement), plus post-judgment interest to accrue at the legal rate, of ten,
percent (10%), fir the fortn attached hereto as Exhibit A.

4. Judgment may be entered’ by ex parte application (without
testimony or trial} with written notice given to Robertson and his attorney of
recotd, Jeffrey W. Allen. Robertson further waives the right to a court and/or
jury teial. | .
5. | The Parties liereby enter into this Stipulation with the advice of
‘counsel, knowing its content and effect.

6. The Parties farther stipulate and request that the court retain

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jurisdiction to enforce the Settlement, Agreement, and Jude

  

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Stipulation).

 

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STIPULATION FOR ENTRY OF JUDGMENT

 

 

 

 
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/JOCK S. DUNCAN

Authorized on behalf of The Federal
Deposit Insurance Corporation, as receiver
for IndyMac Bank, F.S.B.

MORTGAGE RECOVERY GROUP LAW
GROUP ,
By:

 

MICHAEL H. DELBICK, attomey

for Plaintiff The Federal Deposit Insurance
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F.S.B.

VAN DE POEL, LEVY & ALLEN, LLP

By:
JEFFREY W. ALLEN, attorney
for Defendant Reed Robertson

 

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STIPULATION FOR ENTRY OF JUDGMENT

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Dated: , 2010 By:

 

JOCK 8S. DUNCAN
Authorized on behalf of The Federal
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for IndyMac Bank, F.S.B.

Dated: ° d/ oa K , 2010 MORTGAGE RECOVERY LAW GROUP
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MICHAEL H. DELBICK, attorney

for Plaintiff The Federal Deposit Insurance
Corporation, as receiver for IndyMac Bank,
F.S.B.

Dated: , 2010 VAN DE POEL, LEVY & ALLEN, LLP

By:

 

JEFFREY W. ALLEN, attorney
for Defendant Reed Robertson

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STIPULATION FOR ENTRY OF JUDGMENT

 

 

 
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2010 MORTGAGE RECOVERY LAW GROUP

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F.S.B.

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